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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BETHANY KATZ, on behalf of herself and         :
all those similarly situated,                  :
        Plaintiffs,                            :
                                               :           CIVIL ACTION
       v.                                      :           NO. 16-5800
                                               :
DNC SERVICES                                   :
CORPORATION, et al.,                           :
     Defendants.                               :

Jones, II      J.                                                         September 27, 2019

                                           ORDER

       AND NOW, this 27th day of September, 2019, upon consideration of the Third Amended

Complaint (ECF No. 135), Defendant Pennsylvania Democratic Party’s Motion to Dismiss the

Third Amended Complaint (ECF No. 139), all responses thereto (ECF Nos. 143, 150), Defendant

DNC Services Corporation’s Motion to Dismiss the Third Amended Complaint (ECF No. 140),

all responses thereto (ECF Nos. 143, 149), Plaintiffs’ Motion for Judicial Notice (ECF No. 153),

and all responses thereto (ECF Nos. 154, 155), it is hereby ORDERED as follows:

       1. Defendant DNC Services Corporation’s Motion to Dismiss is GRANTED. The Third

Amended Complaint is DISMISSED WITH PREJUDICE as to Defendant DNC Services

Corporation.

       2. Defendant Pennsylvania Democratic Party’s Motion to Dismiss the Third Amended

Complaint is GRANTED, in part. Paragraphs 2 and 59 are hereby STRICKEN from the Third

Amended Complaint and a common law conspiracy claim will not be permitted to proceed

against Defendant Pennsylvania Democratic Party. The remainder of Defendant Pennsylvania

Democratic Party’s Motion to Dismiss is DENIED.

       3. Plaintiffs’ Motion for Judicial Notice is DENIED.
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         4. Pursuant to the Joint Stipulation to Extend the Time to Respond to Plaintiff’s Motion

for Conditional Collective Action Certification (ECF No. 157), Defendant Pennsylvania

Democratic Party shall respond to said motion within twenty-one (21) days of the filing of this

Order.

                                                             BY THE COURT:



                                                             /s/ C. Darnell Jones, II
                                                            C. DARNELL JONES, II           J.
